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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

                                                     Case No.:
Edward Goeckel
807 Cedar St
Owosso, MI 48867                                     Judge:

          Plaintiff,                                    COMPLAINT FOR DAMAGES
                                                     UNDER THE FAIR DEBT COLLECTION
v.                                                      PRACTICES ACT AND OTHER
                                                            EQUITABLE RELIEF
GC Services Limited Partnership
c/o The Corporation Company, Registered
Agent                                                 JURY DEMAND ENDORSED HEREIN
30600 Telegraph Road
Bingham Farms, MI 48025

          Defendant.

                                    JURISDICTION AND VENUE

1. Jurisdiction is founded on 28 U.S.C. §1331 pursuant to the Fair Debt Collection Practices

      Act (FDCPA), 15 U.S.C. §1692. Venue is proper because a substantial part of the events

      giving rise to this claim occurred in this judicial district.

                                  FACTS COMMON TO ALL COUNTS

2. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3).

3. Plaintiff incurred a “debt” as defined by 15 U.S.C. §1692a(5).

4. At the time of the communications referenced herein, Defendant either owned the debt or

      was retained by the owner to collect the debt.

5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §1692a(6).

6. Plaintiff filed this claim within the timeframe permitted under the FDCPA.

7. On or around August 25, 2008, Defendant sent Plaintiff written notice of Plaintiff’s

      opportunity to dispute the validity of the debt pursuant to 15 U.S.C. 1692g.




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8. On or around September 9, 2008, Plaintiff sent Defendant a letter via certified mail in which

   Plaintiff disputed the debt and requested verification of the debt.

9. Defendant received Plaintiff’s letter on or around September 22, 2008.

10. Despite receipt of Plaintiff’s letter, and without first verifying the debt, Defendant telephoned

   Plaintiff on or around September 25, 2008.

11. Despite receipt of Plaintiff’s letter, and without first verifying the debt, Defendant telephoned

   Plaintiff on or around October 2, 2008.

12. Despite receipt of Plaintiff’s letter, and without first verifying the debt, Defendant telephoned

   Plaintiff multiple times on or around October 3, 2008.

13. Defendant damaged Plaintiff emotionally and mentally and caused Plaintiff substantial

   anxiety and stress.

14. Defendant violated the FDCPA.

                                           COUNT ONE

                         Violation of the Fair Debt Collection Practices Act

15. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

16. Defendant violated 15 U.S.C. §1692c in that it communicated with Plaintiff notwithstanding

   its receipt of written cease and desist instructions.

                                           COUNT TWO

                         Violation of the Fair Debt Collection Practices Act

17. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

18. Defendant violated 15 U.S.C. §1692g by continuing its efforts to collect the debt without first

   validating the debt pursuant to Plaintiff’s written request.




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                                          JURY DEMAND

19. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

20. Plaintiff prays for the following relief:

            a. Judgment against Defendant for actual damages, statutory damages, and costs and

                reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

            b. For such other legal and/or equitable relief as the Court deems appropriate.



                                                RESPECTFULLY SUBMITTED,

                                                Legal Helpers, P.C.
                                                Attorneys for Plaintiff

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